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                                       UNITED STATES
                           SECURITIES AND EXCHANGE COMMISSION
                                 DENVER REGIONAL OFFICE
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 DIVISION OF                                                                            (303) 844-1041
ENFORCEMENT                                                                           millerte@sec.gov




                                        October 20, 2017



Honorable Denise Cote
U.S. District Court for the Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street, Room 1610
New York, NY 10007


       Re:     SEC v. Alpine Securities Corporation
               Case No.: 1:17-CV-04179-DLC

Dear Judge Cote:

        Plaintiff the Securities and Exchange Commission (“Commission”) and Defendant
Alpine Securities Corporation (“Alpine”) submit this stipulation for: (a) Alpine to file an
Amended Answer; and (b) a 14-day extension of time for the Commission to file a motion to
strike affirmative defenses under Fed. R. Civ. P. 12(f) (“Motion to Strike”).

       Alpine filed its Answer to Plaintiff’s Complaint on September 29, 2017 (Doc. No. 39
“Answer”). The parties have conferred regarding the Commission’s objections to certain
defenses pled by Alpine and Alpine intends to amend its Answer. Through this letter, the
Commission provides its written consent and stipulation for Alpine to file an Amended Answer
without seeking leave of court, pursuant to Fed. R. Civ. P. 15(a)(2), provided the Amended
Answer is filed no later than October 27, 2017.

       Pursuant to the Court’s Individual Practice 1.E: (1) the original due date for the
Commission to file Motion to Strike Alpine’s original Answer is October 20, 2017; (2) there are
no previous requests for extension of time; and (3) Alpine consents to the requested extension.
The extension will not impact any other case deadlines.

      The purpose of the stipulation is twofold: (1) it provides Alpine the opportunity to file an
amended answer before the Commission moves to strike affirmative defenses; and (2) preserves
the Commission’s ability to file the Motion to Strike in response to the original Answer in the
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event that Alpine does not file an Amended Answer. The parties agree that the sequence
envisioned by the stipulation is the most efficient way to address the Motion to Strike.

       In the event that Alpine files an Amended Answer on or before October 27, 2017, the
Commission’s deadline to respond to the Amended Answer will be governed by Rule 15(a)(3),
and thus any extension would be moot. In the event Alpine elects not to file an Amended Answer
on or before October 27, 2017, the stipulation would allow the Commission additional time, until
November 3, 2017, to file a Motion to Strike in response to Alpine’s original Answer.

        Accordingly, the parties request that the Court approve the stipulated extension of time
for the Commission to file a motion to strike in response to the original Answer, to and including
November 3, 2017.

                                             Sincerely,

                                             /s/ Terry R. Miller
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                                             Terry R. Miller (pro hac vice)
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cc:   All counsel of record
